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 15
 16                        UNITED STATES DISTRICT COURT
 17
                         CENTRAL DISTRICT OF CALIFORNIA
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      DENNIS RUTHERFORD, et al.,     )           Case No. CV75-04111 DDP
 20                                  )
                Plaintiffs,          )           Honorable Dean D. Pregerson
 21                                  )
                vs.                  )           [PROPOSED] ORDER GRANTING
 22                                  )           PLAINTIFFS’ EX PARTE
      LEROY BACA, et al.,            )           APPLICATION AND SETTING
 23                                  )           SCHEDULING CONFERENCE
                Defendants.          )
 24   ______________________________ )
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Case 2:75-cv-04111-DDP Document 268-2 Filed 12/15/10 Page 2 of 3 Page ID #:3701

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  1         The Court hereby GRANTS Plaintiffs’ Ex Parte Application for a
  2   Scheduling Conference and Scheduling Order and sets a scheduling conference on
  3   ______ ____, 2011 at ___ am/pm.
  4
  5
  6
  7   Dated: ________________             __________________________________
  8                                       The Honorable Dean D. Pregerson
                                          U.S. District Court Judge
  9
 10
 11   Submitted By:
 12
      s/ Peter J. Eliasberg
 13
      Peter J. Eliasberg
 14   Attorney for Plaintiffs
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